











Opinion issued January 26, 2009
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;














In The
Court of Appeals
For The
First District of Texas




NO. 01-09-00003-CV




IN RE MARY NELL FREY, Relator




Original Proceeding On Petition For Writ Of Mandamus




MEMORANDUM OPINION 




By petition for writ of mandamus, relator, Mary Nell Frey, seeks relief
compelling the trial court to vacate its temporary orders in suit to modify the parent-child relationship.     
We deny the petition for writ of mandamus. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
Per Curiam&nbsp;
&nbsp;
Panel consists of Chief Justice Radack and Justices Alcala and Hanks.   


